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IN THE DISTRICT COURT OF THE UNITED STATES

FOR THE DISTRICT OF COLORADO UNITED Fil E D
DENVER. ASTRICT COURT

SEP -3 2021

Civil Action No. 21-cv-01148-PAB JEFFREY -. COLWELL
CLERK

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Wu Zilong
Pro Se Applicant,

Vv.

Merrick B. Garland, Attorney General of the United States,

Alejandro Mayorkas, Secretary of the Department of Homeland Security,

Tae Johnson, Acting Director for Immigration Control and Enforcement,

John Fabbriacore, Field Office Director, U.S. Immigration & Customs Enforcement,

Johnny Choate, Warden of the Aurora Contract Detention Facility,

 

 

 

Respondents.
APPLICANTS RESPONSE TO SUPPLIMENTAL RESPONSE
WU ZILONG
APPLICANT INFORMATION Immigration Detainee
AURORA ICE PROCESSING CENTER.
3130 North Oakland Street,

Aurora, CO 80010
303 361-6612

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The Applicant hereby submits the following response to the respondents’
supplemental response to Application for Writ of Habeas Corpus by the Applicant.
As set forth in more detail below a number of unsuccessful attempts by ICE over the
last year have demonstrated intent to prolong the detention of the Applicant and
that it is unreasonable to foresee that the Applicant would be removed in the

foreseeable future especially with the rise of the Delta variant in the United States

and worldwide.

1. FACTUAL BACKGROUND
The Applicant signed documents to be deported back to China within days of his

arrival to the Aurora ICE processing Center. The Department of Homeland Security
(“the Department”) has made a number of attempts to schedule the Applicants’
removal on”
I. October 1, 2020: the Applicant was scheduled to depart Denver to San
Francisco then on to Peking on November 9 2020.However, United
Airlines (“the airline”) changed the itinerary to December 1, 2020.
Il. November 13, 2020: The airline cancelled the upcoming itinerary and
advised that daily departures to Peking would start on January 5,
2021.
Ill. January 7, 2021: The airline cancelled flights to Peking and advised

that flights would be available starting on March 4, 2021.

 
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IV.

VII.

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February 26, 2021: The airline cancelled the Applicant’s March 11,
2021 itinerary and advised that flights would be available starting on
April 1, 2021.

March 8, 2021: The airline advised that direct flights from San
Francisco to Peking were no longer available for the month of April.
April 19, 2021: The airline advised that flights from San Francisco to
Peking are not available for the month of June.

May’: 25, 2021: The airline advised that the first available date for
travel is now scheduled in August 2021.

August 7, 2021 (the weekend of): China withdrew its acceptance of

testing arising from the Denver lab, resulting in the cancellation of the

flight.

A flight was scheduled for August 16 for the Applicant which was cancelled that the

Department was unable to remove the Applicant. According to the Department the

weekend of August 7, 2021 the Chinese government announced it would no longer

accept covid-19 tests administered at the Detroit laboratory.

As of August 17, 2021, the date of the Respondent’s Supplemental Response to

Application for writ of Habeas Corpus the Department submitted an attachment

that was dated August 17, 2021 at 4:00 pm which appears to indicate that a flight

was booked, however, no flight confirmation numbers were displayed.

The Department maintains a position of significant likelihood of removal after over

a year of failing to remove the Applicant.

 
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2. RESPONSE

The evidence presented by the Department does not support their position of

significant likelihood of removal.

The Department presents evidence of their inability to remove the Applicant
over the last year. Based on the sample size of 9, with 8 failed attempts or
negative outcomes, it is probable that the department will not be able to remove
the Applicant in the near future as the possession of a ticket does not ensure
removal as the evidence provided by the Department indicates. Another factor
diminishing the likelihood of removal is the surge in the delta variant strain of
the SARS-Cov-2 virus. When this factor is considered, it appears to reduce the

likelihood of the Applicant’s removal to China in the near future.

Furthermore, when the Department learned that the Applicant could no longer
be tested at the Detroit facility, why did it not immediately reschedule the flight
and the testing in San Francisco? After one year in civil detention, that ten day
delay is unreasonable. Additionally, why did the Department schedule testing
in Detroit in the first place? It would seem logical to schedule a person
travelling from Denver to China to be tested in San Francisco. It appears that
there are questions regarding the detention of persons detained by the
Department in the Aurora ICE Processing Center. The Applicant is housed in a
unit within the Aurora ICE processing Center that has a non-white United

States citizen who holds a U.S. passport who has been detained by the
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Department for four months. A reasonable person would question whether

there are any civil rights violations with respect to the Applicant.

The Applicant has been unable to confirm his departure with his embassy as of

the date of this writing.

3. CONCLUSION

The Department should not be rewarded by detaining the Applicant any longer.
The Applicant should be released until the Department can make provisions for
his departure or he can find his way back on his own. The fact that the second
ticket was not booked until 4:00 pm the day of the Supplemental response on
August 17, 2021, demonstrates an unreasonable delay. The fact that the
Department is holding an American citizen in immigration proceedings
demonstrates that there are issues with procedure with respect to the detention
center and that it is possible that this issue with procedure has negatively
impacted the Applicant’s detention in the Aurora ICE Processing Center. The
Habeas Corpus should be granted as the department has failed to demonstrate

that the Applicant would be reasonably likely to be removed in the foreseeable

future.

 
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Respectfully submitted this 30 day of August 2021

Zz

Zilong Wu

Pro Se Applicant

Aurora ICE Processing Center
Aurora, Colorado 80010
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CERTIFICATE OF SERVICE

I hereby certify that, on August 30, 2021, I served a true copy of WU ZILONG’S
APPLICANTS RESPONSE TO SUPPLIMENTAL RESPONSE by placing it in the

internal mail system at the GEO Contract Detention Facility addressed as follows:

Lauren Dickey

c/o GEO Contract Detention Facility
3130 N. Oakland Street

Aurora, CO 80010

YO

Wu Zilong

Pro Se Applicant

Aurora ICE Processing Center
Aurora, Colorado 80010
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